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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                           TEXARKANA DIVISION


  MAXELL, LTD.,
                                                 Case No. 5:19-cv-00036-RWS
                      Plaintiff,

  v.                                             JURY TRIAL DEMANDED

  APPLE INC.,

                      Defendant.


         MAXELL, LTD.’S MOTION TO AMEND THE PROTECTIVE ORDER
          AND FOR AN ORDER OF DISCOVERY UNDER 28 U.S.C. § 1782
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 I.     INTRODUCTION

        The dispute between the parties is global. In addition to this case, Maxell, Ltd. (“Maxell”)

 and Apple, Inc. (“Apple”) are involved in patent litigation proceedings in Germany (“German

 Proceedings”).1 These German proceedings include allegations that the same Apple products at

 issue here infringe Maxell’s German patents covering the same technology. As a result, particular

 documents from at least Apple and Intel Corporation (“Intel”) produced in this case are believed

 to be highly relevant to Maxell’s patent infringement claims against Apple in the German

 Proceedings.

        Indeed, Apple’s defense to certain claims in the German Proceedings calls into question

 whether Apple’s products operate in a particular manner that would be born out in technical

 documents produced in this case. Apple has refused to produce such technical documents in the

 German Proceedings. Therefore, Maxell seeks narrowly tailored discovery from Apple concerning

 relevant technical specifications from Apple’s and Intel’s document production. Namely, Maxell

 seeks an order from this Court allowing discovery under Section 1782 and an amendment to the

 Protective Order that would allow Maxell to identify and use relevant technical documents in the

 German Proceedings.

 II.    BACKGROUND

        The German Proceedings brought by Maxell against Apple are pending in Germany’s

 Düsseldorf District Court concerning seven Maxell patents. Crützen Decl. ¶ 1. The functionalities

 accused by Maxell in these German Proceedings include FaceTime, position calculation, AirDrop,


 1
   The “German Proceedings” pending between Maxell and Apple in the District Court of
 Düsseldorf, Civil Chamber 4c, are: In the matter of Maxell Ltd., 4c O 14/20 (EP 1 286 174 B1);
 In the matter of Maxell Ltd., 4c O 11/20 (EP 2 061 230); In the matter of Maxell Ltd., 4c O 12/20
 (EP 2 403 266 B1); In the matter of Maxell Ltd., 4c O 10/20 (EP 1 482 508 B1); In the matter of
 Maxell Ltd., 4c O 15/20 (EP 2 579 587 B1); In the matter of Maxell Ltd., 4c O 13/20 (EP 1 936
 974 B1); and In the matter of Maxell Ltd., 4c O 45/19 (EP 1 324 539 B1). Crützen Decl. ¶ 1.



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 WiFi, and Bluetooth communications of iPhones. See Siddiqui Decl. (Ex. A) ¶ 2. These

 functionalities are accused in this lawsuit and described in the documents produced by Apple and

 Intel. Id. at ¶ 3. Thus, documents produced by Apple and Intel are highly relevant to the fair

 adjudication of Maxell’s claims in Germany. To assess relevancy, Maxell requested that Apple

 and Intel agree to amend the Protective Order to allow for Maxell to review and identify relevant

 documents for use in the German Proceedings. See 8/29/2020 Email (Ex. B). Once the documents

 (if any) were identified, Maxell agreed to meet and confer to identify and remove any documents

 that may be subject to export restriction and file a requisite Addendum to the Protective Order Intel

 was agreeable to Maxell seeking leave for the limited purpose of identifying relevant documents.

 See 9/2/2020 Email (Ex. B). Apple opposed the request even as to documents produced by Intel-

 only arguing that it “owns” Intel documents due to an acquisition of Intel’s smartphone modem

 business in December 2019. See 9/15/2020 Email (Ex. B).

 III.   LEGAL STANDARDS

        “Section 1782 is the product of congressional efforts, over the span of nearly 150 years, to

 provide federal-court assistance in gathering evidence for use in foreign tribunals.” Intel Corp. v.

 Advanced Micro Devices, Inc., 542 U.S. 241, 247 (2004). Throughout this process, “Congress

 substantially broadened the scope of assistance federal courts could provide for foreign

 proceedings[]” culminating in 28 U.S.C. § 1782. Id. Section 1782 provides:

        The district court of the district in which a person resides or is found may order him
        to give his testimony or statement or to produce a document or other thing for use
        in a proceeding in a foreign or international tribunal…The order may be made…
        upon the application of any interested person and may direct that the testimony or
        statement be given, or the document or other thing be produced, before a person
        appointed by the court.




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 The district court’s discretion is to be exercised in view of the twin aims of Section 1782:

 “providing efficient assistance to participants in international litigation and encouraging foreign

 countries by example to provide similar assistance to our courts.” Intel, 542 U.S. at 252.

        There are three statutory requirements, and four discretionary factors, for a court to

 evaluate relief under 28 U.S.C. § 1782. The statutory requirements are satisfied where: “(1) the

 person from whom discovery is sought is found or resides within the district; (2) the discovery is

 for use in a foreign tribunal; and (3) the application[, if not made by a foreign or international

 tribunal,] is made by an interested person.” In re Application of Chevron Corp., No. H-10-134,

 2010 WL 2038826, at *1 (S.D. Tex. May 20, 2010).

        The four discretionary factors are (1) whether “the person from whom discovery is sought

 is a participant in the foreign proceeding”; (2) “the nature of the foreign tribunal, the character of

 the proceedings underway abroad, and the receptivity of the foreign government or the court or

 agency abroad to U.S. federal-court judicial assistance”; (3) whether the request is “an attempt to

 circumvent foreign proof-gathering restrictions or other policies of a foreign country or the United

 States”; and (4) whether the discovery is “unduly intrusive or burdensome.” Intel, 542 U.S. at 264-

 65.

 IV.    ARGUMENT

        A.      Each of Section 1782’s Statutory Requirements Is Satisfied

        First, Apple2 “resides or is found” in this District for purposes of this case. “When applied

 to corporations, the word ‘found’ may safely be regarded as referring to judicial precedents that

 equate systematic and continuous local activities with presence.” In re Ex Parte Application of



 2
   Although the request herein is direct to documents produced by Apple and Intel, the analysis is
 limited to Apple only based on Apple’s representation that it now owns and controls the Intel
 documents at issues.



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 Qualcomm Inc., 162 F.Supp.3d 1029, 1035 (N.D. Cal. 2016) (internal quotations omitted).

 Specifically, Apple did not dispute that it resides or is found in this District.3 See D.I. 118 (Apple’s

 Answer to Maxell’s First Amended Complaint) at ¶ 12 (“Apple admits…that it has not contested,

 for purposes of this case, whether venue is proper is this District under 28 U.S.C. § 1400(b).”).

 Further, Apple is “found” in the district because it is a party in this lawsuit and has historically had

 continuous contact by way of a regular and established business in this district and by committing

 acts of infringement in this District. See Complaint, D.I. 1 at ¶ 12.

         Second, the discovery is for use in a foreign tribunal. Specifically, it will be used in the

 German Proceedings in connection with Maxell’s claims against Apple. Crützen Decl. (Ex. C) ¶

 1. Each of the German Proceedings is a foreign tribunal for purposes of section 1782. See, e.g.,

 Matter of Lufthansa Technick AG, No. C17-1453-JCC, 2019 WL 331839, at *4 (W.D. Wash. Jan.

 25, 2019) (permitting discovery for use in German patent infringement proceedings); In re

 Application of AIS GmbH Aachen Innovative Sols. & Abiomed Europe GmbH, No. 5:16-MC-

 80094-EJD, 2017 WL 3115228, at *5-6 (N.D. Cal. July 21, 2017) (same).

         Finally, Maxell is an “interested person” for purposes of section 1782 because it is a named

 party in the German Proceedings. Intel, 542 U.S. at 256 (“No doubt litigants are included among,

 and may be the most common example of, the ‘interested person[s]’ who may invoke § 1782.”).

         B.      Each of the Four Discretionary Factors Weighs in Favor of Granting
                 Maxell’s Motion

         The first factor favors Maxell. It is undisputed that Intel is not a participant in the German

 Proceedings and thus Intel’s documents, which Apple now allegedly owns, are outside the German

 Court’s jurisdictional reach. Ex. C, Crützen Decl. ¶¶ 4-5; see also Intel, 542 U.S. at 264


 3
  Apple has waived any improper venue defense by failing to “include it in a responsive pleading
 or in an amendment allowed by Rule 15(a)(1) as a matter of course.” Fed. R. Civ. P.
 12(h)(1)(B)(ii).



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 (“nonparticipants in foreign proceedings may be outside the foreign tribunal’s jurisdictional reach;

 hence, their evidence, available in the United States, may be unobtainable absent § 1782(a) aid.”).

 While Apple is a participant in the German Proceedings, Maxell cannot compel Apple to produce

 relevant documents as this discovery mechanism is not available. Ex. C, Crützen Decl. ¶¶ 2-3.

 Apple has the option of producing technical documents, “but with respect to multiple proceedings

 including for the proceedings related to EP 1 286 174, Apple has not provided any such documents

 to the German Court.” Ex. C, Crützen Decl. ¶ 6. For example, in one proceeding “Apple has argued

 that its products do not infringe EP 1 286 174 because a particular section of the standard is

 optional without providing any documentation to show that its products do not in fact implement

 that section of the standard.” Id. Thus, this factor weighs in favor of granting Maxell’s Motion.

 See Matter of Lufthansa Technick AG, 2019 WL 331839, at *2 (“although Intervenor is a

 participant in the pending proceedings, the lack of effective discovery mechanisms available to

 Petitioner in those countries weighs in favor of allowing Petitioner to obtain the discovery material

 via § 1782.”).

        The second factor, the nature and character of the foreign proceedings and the receptivity

 to U.S. federal-court judicial assistance, also favors Maxell. The German Proceedings involve

 Maxell’s claims of patent infringement against Apple. The discovery sought by Maxell, which

 relates to the technical operation of Apple’s accused products, is therefore critical. Moreover, the

 German court does not preclude the admission of evidence obtained through § 1782, and there is

 no evidence that the German court would object to the present Motion. See Ex. C, Crützen Decl.

 ¶ 6. Under German law, any documents obtained in the United States pursuant to 28 U.S.C. § 1782

 can be introduced and are considered by the German court in its decision making. Ex. C, Crützen

 Decl. ¶ 8.




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        The third factor, whether the discovery is an attempt to circumvent foreign proof-gathering

 restrictions, favors Maxell. Maxell is unaware of any restrictions on proof-gathering procedures

 that would prohibit obtaining the discovery through Section 1782, and courts have routinely

 granted applications under Section 1782 for evidence to be used in the foreign courts at issue here.

 See Ex. C, Crützen Decl. ¶¶ 8-9. In general, German courts admit evidence that is obtained

 pursuant to 28 U.S.C. § 1782 without regard to its origin. Id. And Section 1782 “contains no

 threshold requirement that evidence sought from a federal district court would be discoverable

 under the law governing the foreign proceeding.” Intel, 542 U.S. at 247. The discovery sought to

 be used by Maxell in the German Proceedings is not an attempt to circumvent foreign procedure,

 but rather constitutes a supplemental method of obtaining relevant proof of Apple’s infringement.

        The fourth factor, whether the discovery will be unduly intrusive or burdensome, also

 favors Maxell. As discussed above, Maxell’s Motion is targeted to a limited set of critical technical

 documents that are at the heart of the parties’ patent infringement disputes in the German

 Proceedings. The universe of responsive documents is thus likely to be small and easily searchable,

 avoiding any undue burden. Maxell’s request to use these documents in the German Proceedings

 would not be unduly burdensome on Apple as such documents have already been gathered and

 produced by Apple in this case. Moreover, any minimal burden on Apple imposed by granting

 Maxell’s Motion is clearly outweighed by the compelling need for this information so that the

 German court can make a full, fair, and just determination of Maxell’s patent infringement claims.

        To the extent that Apple or Intel has confidentiality concerns, Maxell is willing to agree to

 use only a limited set of Protected Material in the German Proceedings. While it is difficult for

 Maxell to identify a precise limit of documents it will need to rely on in the German Proceedings

 without conducting a search of the production, Maxell is willing to provide an estimated




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  representation, i.e., Maxell will not rely on more than a total of 20-30 technical documents across

  the seven German Proceedings.

         C.      Amendment to the Protective Order is Warranted to Allow Maxell to
                 Identify and use the Discovery in the Foreign Tribunal

         As detailed in the above, Maxell has shown that an order allowing narrowly tailed

  discovery under Section 1782 is warranted. Accordingly, good cause exists to amend this Court’s

  Protective Order to allow for Maxell’s review and use of the discovery. Specifically, Maxell is

  seeking to amend paragraph 1(a) of the Protective Order (D.I. 45) under 28 U.S.C. § 1782 as

  follows:

         (a) Protected Material designated under the terms of this Protective Order shall be
         used by a Receiving Party solely for this case or any related appellate proceeding,
         and with respect to non-Source Code Protected Material not designated as
         “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY - SOURCE CODE”
         or “INTEL CONFIDENTIAL - ATTORNEYS’ EYES’ ONLY SOURCE CODE”
         shall be used as confidential submissions in German proceedings noted in this
         subsection in Table 1. Aside from the foregoing, the Protected Material and shall
         not be used directly or indirectly for any other purpose whatsoever: [TABLE 1 –
         List of German Proceedings]

  V.     CONCLUSION

         Given the multiple German proceedings between Maxell and Apple involving the same

  technology and products, Section 1782 provides an efficient and effective means for obtaining the

  discovery sought by Maxell. Rather than seeking the same discovery in another venue or in each

  of the foreign litigations, Section 1782 provides the means for Maxell to obtain the discovery with

  one application under the statute. Procter & Gamble, 334 F. Supp. 2d 1112, 1115 (E.D. Wis. 2004)

  (observing that it would be inefficient to require party to patent infringement actions in Germany,

  Japan, the Netherlands, France and the United Kingdom “to seek the same discovery” in each of

  them). For at least these reasons, Maxell respectfully requests that the Court grant the instant

  Motion.




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                                  CERTIFICATE OF SERVICE

          The undersigned certifies that all counsel of record who are deemed to have consented to
  electronic service are being served this 6th day of October, 2020, with a copy of this document via
  electronic mail pursuant to Local Rule CV-5(d).

                                                       /s/ Jamie B. Beaber
                                                       Jamie B. Beaber



                               CERTIFICATE OF CONFERENCE

          I hereby certify that Plaintiff Maxell, Ltd. has complied with the requirements of Local
  Rule CV-7(h) governing this case. Specifically, the parties exchanged correspondence from
  August 18, 2020 through September 15, 2020 and held a telephonic conference on October 5, 2020
  that included, among others, Jamie Beaber and Geoff Culbertson for Maxell and Michael Jay and
  Gil Gillam for Apple. The parties were not able to resolve the issues raised by this Motion, and
  counsel for Apple indicated that Apple opposes this Motion.


                                                       /s/ Jamie B. Beaber
                                                       Jamie B. Beaber

                                                       /s/ Geoff Culbertson
                                                       Geoff Culbertson
